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                                   United States District Court
                                          D1STR CT OF OREGO
                                      1227 nitoo States Courthouse
                                         1000 S.\V. Third Avenu.e
                                         Portland, Oregon 97204

        Chambers of
    YOU LEE: YIM YO
United States Magis,trale Judge

                                                                  October 11, 2023

Re:      Matter of Recusal, County of Multnomah v. Exxon Mobil Corporation, et al., Case No.
         3:23-cv-1213-YY


Dear Plaintiff’s Counsel:

         Thank you for your email in response to my notice that Michael Estok, an attorney for

one of the defendants in this case, represented me in a real estate matter 12 years ago. Upon

conducting further research, I conclude there is no basis to recuse myself and therefore I must

decline to do so.

         28 U.S.C. § 455(a) provides that “[a]ny justice, judge, magistrate or referee in bankruptcy

of the United States shall disqualify himself in any proceeding in which his impartiality might

reasonably be questioned.” 1 Similarly, the Code of Conduct for United States Judges, Canon

3C(1), states that “[a] judge shall disqualify himself or herself in a proceeding in which the

judge’s impartiality might reasonably be questioned.”

         “Section 455(a) puts the judge under a self-enforcing obligation to recuse himself where

legal grounds exist for disqualification.” United States v. Jaramillo, 745 F.2d 1245, 1248 (9th

Cir. 1984). The judge’s decision is reviewed for an abuse of discretion. Yagman v. Republic

Ins., 987 F.2d 622, 626 (9th Cir. 1993). The standard under 28 U.S.C. § 455(a) is an objective


1
  “Where the ground for disqualification arises only under subsection (a), waiver may be
accepted provided it is preceded by a full disclosure on the record of the basis for
disqualification.” 28 U.S.C. § 455(e). Based on plaintiff’s request that the “case be reassigned,”
it is apparent that plaintiff is not waiving here.
                                                   1
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one that involves “a fact-specific inquiry that should be guided by the circumstances of the

specific claim.” United States v. Spangle, 626 F.3d 488, 495 (9th Cir. 2010); see also United

States v. Holland, 519 F.3d 909, 913 (9th Cir. 2008) (“Disqualification under § 455(a) is

necessarily fact-driven and may turn on subtleties in the particular case.”). “If it is a close case,

the balance tips in favor of recusal.” Holland, 519 F.3d at 912.

        Canon 3(C)(1) cites to instances that necessitate recusal, none of which are applicable

here. Nor do the facts of Mr. Estok’s prior representation provide an objective basis upon which

my impartiality might reasonably be questioned. Mr. Estok’s representation pertained to a

personal real estate matter that bears no relation, either factually or legally, to this action in

which Multnomah County alleges that the 25 defendants “execut[ed] . . . a scheme to rapaciously

sell fossil fuel products and deceptively promote them as harmless to the environment, while

they knew that carbon pollution emitted by their products into the atmosphere would likely cause

deadly extreme heat events like that which devastated Multnomah County in late June and early

July 2021.” First Am. Compl. 2, ECF 2-1 at 178. The issues are so dissimilar that my ability to

impartially preside over this case cannot be reasonably questioned on that basis. See Sonner v.

Filson, No. 200CV01101KJDCWH, 2017 WL 3741975, at *10 (D. Nev. Aug. 29, 2017),

amended, 2018 WL 11314835 (D. Nev. Aug. 20, 2018) (finding no basis for recusal where the

attorney represented the judge “in a civil matter wholly unrelated to” the pending case).

        Also, Mr. Estok’s representation terminated 12 years ago, in 2011, and never extended

beyond the attorney-client relationship. Courts have found that recusal is not required where two

years has elapsed since the attorney’s representation of a judge. See Duke v. Pfizer, Inc., 668 F.

Supp. 1031, 1035-38 (E.D. Mich. 1987) (finding recusal was not required where two years had

passed since the attorneys’ representation of the judge), aff'd, 867 F.2d 611 (6th Cir. 1989);



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Carbana v. Cruz, 595 F. Supp. 585, 589 (D.P.R. 1984) (recusing for a two-year period where the

attorney had represented the judge and was a former law partner), aff’d, 767 F.2d 905 (1st Cir.

1985); see also Morgan Stanley & Co. v. Sundlun, No. 88 CIV. 7966 (CSH), 1988 WL 130937,

at *4 (S.D.N.Y. Nov. 30, 1988) (recusing due to current representation by counsel, but

recognizing that “under the objective rule, a significant distinction exists between past and

present representation,” and noting that no recusal is required after the representation has

concluded). A similar standard applies where a judge previously represented one of the parties.

See Chitimacha Tribe of Louisiana v. Harry L. Laws Co., Inc., 690 F.2d 1157, 1166 (5th Cir.

1982) (holding the fact that a trial judge once represented Texaco “does not forever prevent him

from sitting in a case in which Texaco is a party”); In re Martinez-Catala, 129 F.3d 213, 221 (1st

Cir. 1997) (observing “many judges also sit, usually after a self-imposed cooling off period, on

cases involving former clients (assuming always no current financial ties and that the judge did

not work on the same or a related matter while in practice)”). Here, such a significant period of

time has passed since Mr. Estok’s representation, it supports the conclusion that my impartiality

could not reasonably be questioned.

       Indeed, “it is not unusual for Judges to preside over matters in which lawyers with whom

they have had a relationship appear before them.” Scotto v. Almenas, No. 95 CIV. 9379 (JSM),

1996 WL 492996, at *1 (S.D.N.Y. Aug. 28, 1996), vacated in part on other grounds, 143 F.3d

105 (2d Cir. 1998). In fact, courts have found no basis for recusal in situations involving

personal familiarity between an attorney and a judge that exceed the former attorney-client

relationship here. See United States v. Sundrud, 397 F. Supp. 2d 1230, 1233 (C.D. Cal. 2005)

(“[I]t is not impermissible for judges to sit on cases despite possessing a level of personal

familiarity with the parties involved.”).



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       For instance, judge are permitted to preside over cases involving:

       Former judicial colleagues: Where a former judge is appearing before a sitting judge, the

federal judiciary’s Published Ethics Advisory Opinion No. 70 “suggests that a recusal period of

one to two years would be appropriate, depending on the size of the bench and the degree and

nature of interactions among the judges,” unless the former judge had a “particularly close

association” with the sitting judge. The opinion recognizes the fact “[t]hat the former colleague

may have superior knowledge of the viewpoints of the sitting judges does not require

disqualification.” Id. “The same information is available from a thorough study of the sitting

judge’s opinions, or from observation of the judge in the courtroom,” and “[l]awyers who

frequently litigate before a particular judge may acquire the same type of information, yet no one

would suggest recusal or disqualification in such cases.” Id.

       Former law firm colleagues and friends: Published Ethics Advisory Opinion No. 11

states that judges are not required to recuse themselves “from all cases handled by a law firm

simply because judges have law firm members for friends. Although there may be special

circumstances dictating disqualification, a friendly relationship is not sufficient reason in itself.”

See also Bumpus v. Uniroyal Tire Co. Div. of Uniroyal, Inc., 385 F. Supp. 711, 714 (E.D. Pa.

1974) (recognizing the policy of abstaining from cases involving former law firms for two years

after taking the bench); Scotto, 1996 WL 492996, at *1 (finding no basis for recusal where the

professional relationship with the law firm ended over six years before, at the time the judge left

private practice); Smith v. Pepsico, Inc., 434 F. Supp. 524, 526 (S.D. Fla. 1977) (observing that

recusal is permitted for cases involving a former law partner, despite the “closeness of a law

partnership which often endures for many years and entails mutually inherent risks to fortune and

honor”).



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       Former law clerks: “It is common knowledge in the profession that former law clerks

practice regularly before judges for whom they once clerked.” In re Martinez-Catala, 129 F.3d

213 at 221. “Regarding the intimate relationship between a judge and his law clerk, the

prevailing view is that a one- or two-year period of repose is enough to cure any possible

appearance of impropriety.” Duke, 668 F. Supp. at 1036; see also Smith, 434 F. Supp. at 525–

526 (finding a two-year period after a two-year clerkship was sufficient); United States v.

Hollister, 746 F.2d 420, 426 (8th Cir. 1984) (recommending a one-year period for recusal).

“There is no good reason for requiring a longer period of repose for a lawyer who once

represented a judge . . . than for a law clerk who worked with a judge more than two years prior

to appearing before that judge.” Duke, 668 F. Supp. at 1036.

       In sum, the circumstances of Mr. Estok’s prior representation do not constitute a basis for

recusal. This is not a close case. The attorney-client relationship is analogous to other

relationships that judges have with attorneys in the community in which a two-year period of

repose is considered sufficient to alleviate concerns that a judge’s impartiality could reasonably

be questioned. The 12 years here far exceeds that minimum threshold of time.

       Finally, the Code of Conduct for United States Judges, Canon 3A(2), requires that “[a]

judge should hear and decide matters assigned, unless disqualified.” The Ninth Circuit has

recognized “the general proposition that, in the absence of a legitimate reason to recuse himself,

a judge should participate in cases assigned.” Holland, 519 F.3d at 912 (simplified).

       This proposition is derived from the “judicial Power” with which we are vested.
       See U.S. Const. art. III, § 1. It is reflected in our oath, by which we have obligated
       ourselves to “faithfully and impartially discharge and perform [our] duties” and to
       “administer justice without respect to persons, and do equal right to the poor and
       to the rich.” 28 U.S.C. § 453. Without this proposition, we could recuse ourselves
       for any reason or no reason at all; we could pick and choose our cases,
       abandoning those that we find difficult, distasteful, inconvenient or just plain
       boring. Our mythic Justice, represented by a blindfolded figure wielding a balance

                                                 5
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       and a sword, hears all cases coming before her, giving no preference—whether in
       priority or result—to the station or economic status of such persons.

Id. “Where there is no appearance of partiality, ‘the dignity of the bench, the judge’s respect for

the fulfillment of his judicial duties, and a proper concern for his judicial colleagues, all require

that the judge not recuse himself.’” Duke, 668 F. Supp. at 1035 (citing Advisory Comm. on

Judicial Activities, Op. 52 (1977)) (emphasis in original); see also Hawaii-Pac. Venture Cap.

Corp. v. Rothbard, 437 F. Supp. 230, 234 (D. Haw. 1977) (admonishing that 28 U.S.C. 455(a)

“should not be used by judges to avoid sitting on difficult or controversial cases”); see also Mass

v. McClenahan, No. 93 CIV. 3290 (JSM), 1995 WL 106106, at *1 (S.D.N.Y. Mar. 9, 1995) (“A

judge has as much of a duty not to recuse himself absent a factual basis for doing so as he does to

step aside when recusal is warranted.”). Because there is no basis for me to recuse myself here, I

must decline to do so.

                                                       Sincerely,

                                                       Youlee Yim You
                                                       United States Magistrate Judge



cc:   All counsel of record
Attachment (email thread)




                                                  6
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From:             Trish Hunt
To:               Youlee You
Subject:          Resp from paralegal on behalf of Plaintiffs FW: Information re 3:23-cv-01213-YY County of Multnomah v. Exxon
                  Mobil Corporation et al
Date:             Tuesday, October 10, 2023 3:34:54 PM




From: Amber Pollard <apollard@tcnf.legal>
Sent: Tuesday, October 10, 2023 3:32 PM
To: Trish Hunt <Trish_Hunt@ord.uscourts.gov>
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Subject: RE: Information re 3:23-cv-01213-YY County of Multnomah v. Exxon Mobil Corporation et al

CAUTION - EXTERNAL:



Dear Ms. Hunt:

Plaintiffs do object to Judge You deciding this case, in view of her former attorney, client relationship
with one of defense counsel. We ask that the case be reassigned. Thank you.


Amber Pollard, Paralegal, on behalf of James S. Coon, of Attorneys for Plaintiff

TH OMA S, CO ON,
N EW TON & FROST
                                                                                                               Attachment, 1 of 3
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          Sent: Friday, October 6, 2023 6:41 PM
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                                                                                                                                          Attachment, 2 of 3
      Case 3:23-cv-01213-YY                Document 112            Filed 10/11/23          Page 9 of 9


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     Corporation et al



     1- Some people who received this message don't often get email from trish_hunt@ord.uscourts.gov.
        Learn why this is important

     Good evening,

     Judge You provides notice to the parties in this case that she was previously
     represented by Michael Estok, attorney for ConocoPhillips, in a real estate matter over
     12 years ago. Please advise if you perceive that this prevents her from handling this
     case impartially.

     Regards,

     Trish Hunt
     Courtroom Deputy to Hon. Youlee Yim You
     United States District Court for the District of Oregon
     trish_hunt@ord.uscourts.gov
     503-326-8057


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                                                                                                        Attachment, 3 of 3
